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 6   MICHAEL LEONARD LOVATO

 7
                             IN THE UNITED STATES DISTRICT COURT
 8
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                    ) CR NO. S-10-437-WBS
11                                                )
          Plaintiff,                              )
12                                                ) JOINT REQUEST AND [PROPOSED]
                                                  ) ORDER FOR A PRE-PLEA REPORT
     v.                                           ) CALCULATING MR. LOVATO’S
13
                                                  ) CRIMINAL HISTORY
14   MICHAEL LEONARD LOVATO,                      )
                                                  ) Judge: Hon. William B. Shubb
15
                                                  )
          Defendant.                              )
16        The Parties, Jill Thomas, Assistant United States Attorney, and counsel for defendant

17   Michael Leonard Lovato, John R. Manning, Esq., jointly request the Court order the United
18
     States Probation Department to draft a pre-plea report for the sole purpose of calculating
19
     defendant Michael Leonard Lovato’s criminal history. United States Probation has been
20
     informed of this request and has no objection.
21

22                                                Respectfully submitted,

23   Dated: April 18, 2011                        /s/ John Manning
                                                  JOHN R. MANNING
24
                                                  Attorney for Defendant
25                                                Michael Leonard Lovato

26   Dated: April 18, 2011                        Benjamin B. Wagner
                                                  United States Attorney
27

28                                         by:    /s/ Jill Thomas
                                                  Assistant U.S. Attorney

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     UNITED STATES OF AMERICA,                      )       CR NO. S-10-437-WBS
11                                                  )
              Plaintiff,                            )
12                                                  )       ORDER FOR A PRE-PLEA REPORT
                                                    )       CALCULATING MR. LOVATO’S
13   v.                                             )       CRIMINAL HISTORY
                                                    )
14   MICHAEL LEONARD LOVATO,                        )       Judge: Hon. William B. Shubb
                                                    )
15                                                  )
              Defendant.                            )
16

17   UPON GOOD CAUSE SHOWN and the joint request of the Parties, it is ordered the United
18   States Probation Department draft a pre-plea report for the sole purpose of calculating defendant
19   Michael Leonard Lovato’s criminal history.
20

21   IT IS SO ORDERED.
22

23
     Dated:           April 21, 2011

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25

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